  \Case- `1:16-CV-02134-ALC Document86-26 Filed 08/18/17 Page 1 of 20
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fmli'lml.`il'».',£ttiml m ;"v`il'. .\`2\\'§¢::' Ri\“cm l'u t‘¢:}.?)x‘¢:e;e:!lt nw 111 C.¢:)l.rl"l.. am .=-"-\1.1‘_“11,1.~';1 ¢'L 2()09. 211 *)1{.1()
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ctth count or 'm;e cmr or NHW Yoitit impair No. §§ ¢59.¢-'-'*¢¢’ “"'i?/ "

 

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AP'I‘. # ii /:~'

 

F"`"”H`"\ s'rtPuLartoN or sE:TTLEMr:NT

\The parties understth that each party has the
ra_"J-f"} /right to a trial, the right to see a judge at any

   

- against --

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time and the right not to enter into a stipulation
of settlement However, after a review of all the

 

 

 

 

 

 

RESPOHd*”-m'f q i.seuee, the parties agree that they cio not Want
to go to trial and instead agree to the following
““““ *“"*””“"""""""""""“-~--"-~“““-‘-“-m~----- lt stipulation cf emile-ment of the issues in this matter.
IT IS mHY STY.PUIJ§.TE, CDNSENTED 'I‘Ci ,H.ND HGREED HY“ THE PHR'ITE:S HHRETC) T'HHT:
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Fetitioner for and Fine.l Juclgement of Poeee?a'ion for Petiti§?r with Warrar\t of
E'vlctlon to lee E:)t'é"c:ltlon of Wan'e.nt cf Evlctlon stayed through F"'Y"F "

 

on condition of timely payment and in compliance with all terms cf this Etipulati:_“_mm,_._.,w*";

Petitlo a encle dynl:lq<le all remipr Aotlon settled for
eti her f \\ `Wr-*-t¢:\/ba*§i‘d by Defaqii'r"§'i\all authorize

eye written notice emiia.r mail

 

 

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aa all rent thrdough

 

f No ` claire eul iorlzee MWWnotice
Tmmnt agrees to timely pay future rent as lt becomes due. Panial payment shall not restore the“l;enclicrcl-
tenant relationship jill monies received will first be applied to current rom. and the balance tc the arrears
"l‘enant acknowledges that the condition of the premises is satisfactory
Petitioner reserves all claime to legal feee, late chargea, washing machine lees_

The monthly rent is ?S/‘?‘Qy‘ dep
"p*"':’/W""'/F”»" )‘W"""e eeww§ re _/-¢rw¢""r' /eF’,/i»e»»e how ,¢?r¢.-w/.<»,_-»#»:s
¢‘-’f /Pc#/é=i'r./.'€£¢’/ /r'/F/,¢’,rf/,ea#/ch?£xr'?ef M /$x£w /‘G rFFrF,SP/;»/

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/,z’”"

Attorney for Petitioner Respom:lent

HUGLIONE, FR!TZ 8¢ A{H€)C|ATES
own-mm AvEm_rE, suits aB, mem m 10457
TEL: 710-dire- \ 4?4

 

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ease 1:16-cv-0213“4-Atc 'Documem 86-26 Filed 08/13/1?' Page 3 of 20

__PWIL COURT OF THE ClTY OF NEW YDFiK
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Dcccrnhcr 2, 2009

 

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J`l\,'l`){il§\ ill.)LfiilN€.i (.'l’_ll_lR'i`

Mjnr`mc Locatcr

l"lctidqunrtcrs `US lvlnrinc Ccrps

Pcrsonncl M`zinngcntcnt Support Brnnch (MOMS- l7)
2008 Ell'tct Road

annticn. VA 22134~5030

Re: Luic Gcnzale:t

.Dcar Sir/Madam:

Wc have bccn informed that Mr. Luis Gcn:talec is in thc Mtn'inc Corpc. Mr. Gonttclcz
currently has a case pending in our court, and we need in contact him in order te ensure that he
makes zuTangcmcntc to have his interests represented in this proceeding His case has bccn
adjourned to Deccml)cr 21. 2009, at 9:30 cnt.

Ycur assistance in this rnnttcr will be appreciated
Vcry truly ycnt'S,

,t/M: ¢§WW

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SUITE

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Case 1:16-cv-02134-ALC Document 86-26 Filed 08/18/17 Page 5 of 20

Cl\lll. COURT OF THE CITY OF NEW VOF{K
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saonx, N.Y. mass

lDecetnber 21 2009

 

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Marine Loeatot'

Headqttarters US Marine Corps

Personnel Management Support Branch (MGMS»I.?)
2003 Elliot Road

Quantieo, VA 22134-5030

Re: I..ttis Gonzalea
Dear Sit'fI\/It.tdam:

We have been informed that Mr. Lais Gonzalez is in the Marine Corps_ Mr, Gonzalez
currently has a ease pendingl in our cottrt, and we need to contact him in order to ensure that he
makes arrangements to have his interests represented in this proceeding I-Iis case has been
adjourned to December 2], 2009, at 9230 am.

Your assistance in this matter will be appreciated

Very truly yours,
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f § if

Marlin Segarra
Court Attorney

Page 5

 

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Case 1:16-cv-02134-ALC Document 86-26 Filed 08/18/17 Page 6 of 20

C|VlL COUFiT OF THE C-IT‘( OF NEW YOF\‘K
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snoa)<, N.v. mass

Decernber 23, 2000

 

Ctta.\tstzas oF
IION. LtJU|S VILLEI.LA
JLII`JGE. HOU!-ltNt_t Ct)t.ll`t'l'

M`ari ne Locator

Headquarters US Marine Corps

Personnel Management Support Branch (MOM.S~N)
2008 Elllot. Road

Quantico1 VA 22! 34-5030

Re: 1315 i\./lorris ltea]tv Corp. v. Luis Gonzalea; index No. 36060/09

Dear Slr/Madan‘lz

We have been informed that Mr. L,uis Gonr.alez is in the Marine Cotps. l'v[r. Citirtztilet:’s
last known civilian address is 1815 Morris Ave., apt. GF, Bronx, New Yorlt l0452. I~'le currently
has a ease pending in our court, and we need to contact him in order to ensure that he makes
arrangements to have his interests represented in this proceeding Because ot' his failure to
in Court on Decernber .'?.l, 2009, or to have someone
was issued against him,

appear
appear on his behall`, a default judgement

Mr. Gona:-tlez may still have an opportunity to protect his interests in his apartn'tent, it` he
acts promptly Your assistance in locating Mr. Gonaalez will be appreciated

Very truly yours,

//VA d/?M,

Marli n Segarra
Court Attorney

Page 6

 

 

Case 1:16-cv-02134-ALC Document 86-26 Filed 08/18/17 Page 7 of 20

ClVlL COUl""iT OF THE ClTY OF NEW YOFiK
1110 GFlAND CONCOUHSE
snonx, N_v, mass

.December 113, 2009

 

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]LT[)t`ili\ llii]l,’i~ili\-`l'i 'l'(.l'l_-’R`l`

lVlarine Locator

llieuthuarters US Marine Corps

Personnel Management Support Branch (MOMS-l?)
2008 Elliot llottd

QuanticoT VA 22134~5030

Rc: 1315 lvlorris Rea|tv Corp. v. I_.uis Gonzalez; Inde)t No. 36860/00 l
Dear Sir/Madam:

We have been informed that Mr. Luis Gonsalett is in the l'\/Iarine Corps. lv.fr. Gonzalez’s
last known civilian address is 1815 Ivl`orris Ave., apt. tiF, Bronx, New York 10-'152, l'le currently
has a case pending in our eourt, and we need to contact him in order to ensure that he makes
arrangements to have his interests represented in this proceedingll Because ol" his Failure to appear l
in Court on Deeember 21, 2009, or to have son‘ieone appear on his bchalf, a default judgement
was issued against hirn.

Mr. Gonaalea may still have an opportunity to protect his interests in his apartment1 it` he
acts promptly. Your assistance in locating Mr. Gonzalez will be appreciatedl

Very truly yours,

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Marlin Segarra
Couit Attorney

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'Frein the information watched the
above-nsmed'iadividual cannot be .
identified as a member or former
member of the Marine Corps er of
the Marine Corps Reserve.

 

 

 

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ease 1._:1‘6ch-02134-ALC Documl`é°i`iilm§”léll¥”léllélllll`

R_EQUEST FOR FINAL ORI)ER
RESIDENTIAL

MARSHAL: THOMAS BIA

CI`VIL CC)URT DF CITY OF NEW YDRK

 

. COUNTY OF BRONX
1015 MORRIS REAI,TY CORP
Perm. g L 81 T l,ndeit No.
against l'-l" r
Land[m.d 035$60/09
LUIZ, GC)NZALES,
Respondem I“enom
Addresr
1315 Mor't”is Ave Apt.# 61~`

emma err 10453

Name of ?”ensnr ana/er Undsrrenenr being fictitious and unknown
person intended being in possession or me premises herein de sensed

 

`Y“OU AR.E HER.EBY REQUESTED TO SUBMI'I' THE PAPF.RS IN THE ABUVE~ENTITLED
PROCEEDING TO THE .lUDGE EC)R. FINAL ORDER

N/P X H/O AI'I` X DEF RES X CC)M

_,m..........._-m.._._ .-»_'-.m..._ “....._,,,,,,_

DATED; '_BR_C)HX, ”N,'Y. _ EUGLIONE, FRITZ A.ND ASSOCMTES, LI.C
Attoreeys for Petitiorter~£.andlord
f f
01 13 2010 4419 Third A.venue, St'u'te 413
Browt, NY10457
Phone: ('713) 676-1 74

By:

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Page 10

Ca§.e”"l:16-cV-02134-ALC Document86-26 Filed 08/18/17 Page 11 of 20

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1815 MORRIS REALTY, C.‘ORP

INDEX # 0303001'2009
JUDGMENT SECI # 001

 

 

_s” Pecicioner(e)

,/“ AGA|NST
GONZALES , LUI 21

Reepondenc(el

   

Deeision_and judgment is rendered based upon
respondents failure to appear ior_ trial as io|lows:
Judgment of possession is granted in favor of:
tate Moaals REALTY, CoRP
and against
_ _ ooNaaLEs, note
A counterclaim is_ granted in favor of the res onoent in the amount of $0.00
(wl'iich if not being entered separa ely is offset and reflected in the
total amount due, listed be|oW.)

A money judgment is hereby grariti=_idl along with cost and disbursements
iri the amount of $0.00 in favor of:
late MORRIS REALTY, CoRP
and against
GONZALES, LUIZ

for a total amount of $0.00

(|Vlonthly use and occupancy is set sit_ $0.00 per month, as per order,
stipulation or decision in record.)

 

 

 

Wan'ant to issue after 12/26!2009 Execution .,
x

 
 
 

Date ZQQ hill f §§ i-

Seetion 5020(e) of the Civi|.Proc.llce Lciw and Ru|es req' ~ ~ ffl|°g‘g`with the
clerk when the judgment is satisfied Fallui'e to do so subjects the judgment creditor to penalties

________-n_n_thammwmmmi-imm»-"-M-i-u-i--i---¢--_i»-»-n-i¢-¢-mwwmm_»_*________mwu*WM-____m
,_,,,M,,,,,.mmm".¢q,...¢____________________________________-_MWHMM,,,,,,_______"HM__

 

 

ENTRY OF JUDGMENT l
Judgment entered in accordance with the above on iii l 02 . \='é“*“"‘"""-- /<5;@'3"?`"
‘ {]}{] t.`,hiet Clerit, t_!ivi| Court
Warrant issued to Mei'sha| wl On
ClV-LT-50(2006) Page 1 of 1

Page il

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A i. .»"”“
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i:lReS-pet`ident!'mi’ersen Claitttiii'lg possession has appeared end lies orally answered lite Pctition its Ft)lloWS:

. .i -% WMW§YWMMW _ i_ F>Wi Wm.¢l _§;.E

 

 

 

Answer
SERVICE
l. _______ The Resportdcnl did not receive n copy of Llie Nntice of`i"‘etition and i”etitioit.
2. __ Tbe Respoiident received the Notiee of I'etitinn and Petition, but service was not correct as required by iew.
salaries
3. W…______ Tltc Respondent is indicated improperly, by tbe wrong narne, or is not indicated on the Noticc of i’ctiticn and Fctition.
4. The Petitioner is not the landlord er Ownei' of the buildiug, or a proper pany_

BF¢NT
5. No rent demand or proper rent demand, either onil or written, was made before this proceeding
6. u___ The Responcient tried to pay tire rent, but the Petitioner refused to accept it_

7. The monthly rent being requested is not tire legal renter tbe amount on the current lease
B. M 'l`lte i*etitioner owes money to the i{cspondcnt because ct` a rent overcharge
9, The rent1 er a portion oi“ the rent, has already been paid to the Petitloner.

APARTMEN'I` l
lOi There are conditions in t_he apartment which need to be repaired andfor services which the Pctilioner has not provided
ll. w_m_______ Publie Asaiatanee shelter allowance lies stopped because of housing code violations in the apartment or thc building
12. __ Tbc apartment is an illegal apartmenti

CJ' ` -lii*`tt.

13. l.eehe$ 14 Qf' Gencral Dcninl.
15_ _'_ _ R¢-,gpgmieriif[’erson claiming possession is' the military service or is n dependent oi"F-.H someone l;;9|61].einilits.ryii;i service
ld.:OtlicrAn.-swer MH.. ('jzm 5 /_,. ,-_,..¢ ;=t-:;ih_, ;?;r;

 

 

 

 

 

 

 

dep Wf¢¢_ ft.i'_,-»,'FW -W ?/3, y/¢;.M
; tp i.¢.m.Mduv”-m-n- -v_-m-m-w-un . _________ _
Satcd ; , erk` s initials

n = NOT!§E OF SCHEDU}..'ED APPEARANCE
This ease is scheduled tn appear on the calendar art follower

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Fer assistance visit a Rerauree C'¢nrer in the courthouse ar the enuri".r wcb.rr'ra: NYCourte.GoleYCHousing.

CIV-LT-Qi (Re'\tis¢d Mtly QOO'F} Page 12

 

Cqse“ 1:16-'§§{/-02134-ALC DocumemSG-z€ Filed l`6'2'3/13/1`7 Page 13 of 20

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(_ 8 ) BY PF.RS(`)N.-'\L Dl`il_.l\f'li!\`l‘r'.

A'l` 1851 M(`JRRIS AVE

NEW Y(}I"{K ,NY f()d§_'§
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AND DEI..IVERING `I`U AND l_.E/\VEING 1\ C`()P"‘¢' "I`I"H`_".RE()F EACH 'I`ENAN'|`{S )f
OC`.CUPANT( S ) I"ERSONALL.Y Wl']`I-l J(`)HN D(`)E l8 (REFUSE`D NAME _}

WHO WAS Wll.UNG TO R.E.CE.|VE*UNDERSTAND THE NC}'I`IC]_`€.

AT SAlD PROPERTY. A FERS()N OF SUI‘]`A|SI.,I°.'Z AGE AND DlSCRETl(.§)N.

DEPONEN'I` DESCR.|BES THE INDIVIDUAL SERVED AS l'~`(j)l,l,{'_)WS¢

SEX : MAl..E

SKIN CUI_.OR : DK BR()WN
HAIR CCJLOR : BLACK
.A.GE. : 28 m35

l-IEIGI"{T : 5 ‘ 7 "

WEIGHT: IBO- l.BS
ADDITTIONAL. 1""[€!\'!`[.11§}138 :

NAME OF INDIV]DUAI_. SERVED : JC)HN DOE (REFUSED NAME)

AND ON 07/10/09 DEPC)NENTSERVED cc)PIEs oF THE wlTHlN Nc;)N-PAYMENT
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PRQPERTY sOUNc.T To BE izECC\vERED .m' DEPOSITING A 'I~RUE crow ch r;~:ACH
NAME TENAN'i‘/GCCUPANT oF THE SAME ENCLOSED nm Pc)sT PA:D WRAPPER
ADDRES:;ED Tc) E;ACH 'FENANT;GCCUPANT AT THE PROFERTY souc;'H'r w BE
nEcc)vERED,rN THE Pc;)$'l‘ QFFICE BY cERTlFIED MAIL ANI) BY RI£GULAR FIRST
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